Case 1:21-cv-23190-FAM Document 39 Entered on FLSD Docket 10/18/2022 Page 1 of 1

                                       UNITED STATES DISTRICT COURT
                                       SOUTHERN DISTRICT OF FLORIDA



 JANE DOE, et al.                                              CASE NUMBER
                                                                  1:21−cv−23190−FAM
                        PLAINTIFF(S)

                              v.

 NICOLAS MADURO MOROS, et al.,

                                                                      DEFAULT BY CLERK F.R.Civ.P.55(a)

                      DEFENDANT(S).




                                                 Clerk's Default
       It appearing that the defendant(s) herein, is/are in default for failure to appear, answer, or otherwise plead

 to the complaint filed herein within the time required by law.

 Default is hereby entered against defendant(s)

 NICHOLAS MADURO MOROS
 VLADIMIR PADRINO LOPEZ
 MAIKAL JOSE MORENO PEREZ
 NESTOR LUIS REVEROL TORRES
 TAREK WILLIAM SAAB
 TARECK EL AISSAMI




 as of course, on the date October 18, 2022.
                                                             Angela E. Noble
                                                             CLERK OF COURT

                                                             By /s/ Esperanza Buchhorst−Rodriguez
                                                             Deputy Clerk

 cc: Judge Federico A. Moreno
     JANE DOE

                                              DEFAULT BY CLERK F.R.Civ.P.55(a)

 CV−37 (10/01)
